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                 UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF PENNSYLVANIA


  Dustin DeYoe and Christine DeYoe,

                          Plaintiffs,            Civil Action No.

           – against–

  Barclays Bank Delaware, and TransUnion,        COMPLAINT
  LLC,

                          Defendants.


                                        COMPLAINT

       Plaintiffs, Dustin DeYoe and Christine DeYoe (hereinafter “Plaintiffs”), by and

through their attorney, by way of Complaint against Defendants, Barclays Bank Delaware

(“Barclays”), and TransUnion, LLC (“TransUnion”), alleges as follows:

                                  INTRODUCTION

     1. This is an action for damages brought by an individual consumer for Defendants’

         violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (the

         “FCRA”) and other claims related to unlawful credit reporting practices. The

         FCRA prohibits furnishers of credit information from falsely and inaccurately

         reporting consumers’ credit information to credit reporting agencies.

                                         PARTIES

     1. Plaintiffs, Dustin DeYoe and Christine DeYoe, are adult citizens of the state of

         Pennsylvania.

     2. Plaintiffs are “consumers” as defined by 15 U.S.C. § 1681a(c).




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3. Defendant Barclays does business throughout the country and in the state of

   Pennsylvania. Barclays is a “furnisher” of consumer credit information as

   defined in 15 U.S.C. § 1681(2).

4. Defendant TransUnion is a limited liability company, doing business throughout

   the country and in the state of Pennsylvania. TransUnion is a “consumer

   reporting agency” as defined in 15 U.S.C. § 1681a(f).

                         JURISDICTION AND VENUE

5. This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

   § 1331 because the rights and obligations of the parties in this action arise out of

   15 U.S.C. § 1681 and 15 U.S.C. § 1681p, which provides that an action to enforce

   any liability created under 15 U.S.C. § 1681 may be brought in any appropriate

   United States District Court without regard to the amount in controversy.

6. Venue is also proper to 28 U.S.C. § 1391 (b)(2) because a substantial part of the

   events and omissions giving rise to Plaintiffs’ claims occurred in Pennsylvania.

                          FACTUAL ALLEGATIONS

7. Defendant Barclays issued an account ending in -57606271 to Plaintiffs. The

   account was routinely reported on Plaintiffs’ consumer credit report.

8. The consumer report at issue is a written communication of information

   concerning Plaintiffs’ credit worthiness, credit standing, credit capacity,

   character, general reputation, personal characteristics, or mode of living which

   is used or for the purpose of serving as a factor in establishing the consumer’s

   eligibility for credit to be used primarily for personal, family, or household

   purposes as defined by 15 U.S.C. § 1681a(d)(1).



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9. On or about July 1, 2019, Plaintiffs and Barclays entered into a settlement

   agreement for the above referenced account. A copy of the settlement agreement

   is attached hereto as Exhibit A.

10. Pursuant to the terms of the settlement, Plaintiffs paid, and the creditor accepted,

   payments totaling $2,935.00 to settle and close their Barclays account.

11. Plaintiffs, via their debt settlement representative, timely made the requisite

   settlement payments.

12. However, over six months later, Plaintiffs’ Barclays account continues to be

   negatively reported.

13. In particular, on a requested credit report dated August 20, 2020, Plaintiffs’

   Barclays account was reported with a status of “CHARGE OFF,” a balance of

   $5,117.00, and a past due balance of $5,117.00. The relevant portion of

   Plaintiffs’ credit report is attached hereto as Exhibit B.

14. This tradeline was inaccurately reported. As evidenced by the enclosed Exhibits,

   the account was settled for less than full balance and must be reported as settled

   with a balance of $0.00.

15. On or about September 22, 2020, Plaintiffs, via their attorney, notified

   Defendants of a dispute with completeness and/or accuracy of the reporting of

   Plaintiffs’ Barclays account. A redacted copy of this is attached hereto as Exhibit

   C.

16. Therefore, Plaintiffs disputed the accuracy of the derogatory information

   reported by Barclays to the Consumer Reporting Agencies via regular mail in

   accordance with 15 U.S.C. § 1681i.



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17. In November of 2020, Plaintiffs requested updated credit reports for review. The

   tradeline for Plaintiffs’ Barclays account remained inaccurate as Defendants

   failed to correct the inaccuracy. The relevant portion of the November 2020

   credit report is attached hereto as Exhibit D.

18. TransUnion did not notify Barclays of the dispute by Plaintiffs in accordance

   with the FCRA or, alternatively, did notify Barclays and Barclays failed to

   properly investigate and delete the tradeline or properly update the tradeline on

   Plaintiffs’ credit report.

19. If Barclays had performed a reasonable investigation of Plaintiffs’ dispute,

   Plaintiffs’ Barclays account would have been updated to reflect a “settled” status

   with a balance of $0.00.

20. Despite the fact that Barclays has promised through its subscriber agreements or

   contracts to accurately update accounts, Barclays has nonetheless willfully,

   maliciously, recklessly, wantonly, and/or negligently failed to follow this

   requirement as well as the requirements set forth under the FCRA which has

   resulted in the intended consequences of this information remaining on

   Plaintiffs’ credit report.

21. Defendants failed to properly maintain and failed to follow reasonable

   procedures to assure maximum possible accuracy of Plaintiffs’ credit

   information and Plaintiffs’ credit report concerning the account in question, thus

   violating the FCRA. These violations occurred before, during, and after the

   dispute process began with TransUnion.




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22. At all times pertinent hereto, Defendants were acting by and through their agents,

   servants, and/or employees, who were acting within the scope and course of their

   employment and under the direct supervision and control of the Defendants.

23. At all times pertinent hereto, the conduct of Defendants, as well as that of their

   agents, servants, and/or employees, was malicious, intentional, willful, reckless,

   negligent, and in wanton disregard for federal law and the rights of the Plaintiffs.

                           CLAIM FOR RELIEF

24. Plaintiffs reasserts and incorporates herein by reference all facts and allegations

   set forth above.

25. TransUnion is a “consumer reporting agency,” as codified at 15 U.S.C. §

   1681a(f).

26. Barclays is an entity that, regularly and in the course of business, furnishes

   information to one or more consumer reporting agencies about its transactions or

   experiences with any consumer and therefore constitutes a “furnisher,” as

   codified at 15 U.S.C. § 1681s-2.

27. Barclays is reporting inaccurate credit information concerning Plaintiffs to one

   or more credit bureaus as defined by 15 U.S.C. § 1681a.

28. Plaintiffs notified Defendants of a dispute on the account’s completeness and/or

   accuracy.

29. Barclays failed to complete an investigation of Plaintiffs’ written dispute and

   provide the results of an investigation to Plaintiffs and the credit bureaus within

   the 30-day statutory period as required by 15 U.S.C. § 1681s-2(b).




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      30. Barclays failed to promptly modify the inaccurate information on Plaintiffs’

          credit reports in violation of 15 U.S.C. § 1681s-2(b).

      31. TransUnion failed to delete information found to be inaccurate, reinserted the

          information without following the FCRA, or failed to properly investigate

          Plaintiffs’ disputes.

      32. TransUnion failed to maintain and failed to follow reasonable procedures to

          assure maximum possible accuracy of Plaintiffs’ credit reports, concerning the

          account in question thus violating 15 U.S.C. § 1681e(b).

      33. As a result of the above violations of the FCRA, Plaintiffs suffered actual

          damages in one or more of the following categories: lower credit score, denial of

          credit, embarrassment and emotional distress caused by the inability to obtain

          financing for everyday expenses, rejection of credit card application, higher

          interest rates on loan offers that would otherwise be affordable, and other

          damages that may be ascertained at a later date.

      34. As a result of the above violations of the FCRA, Defendants are liable to

          Plaintiffs for actual damages, punitive damages, statutory damages, attorney’s

          fees, and costs.



      WHEREFORE, Plaintiffs demands that judgment be entered against Defendants

as follows:

      1. That judgment be entered against Defendants for actual damages
         pursuant to 15 U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o;

      2. That judgment be entered against Defendants for punitive damages
         pursuant to 15 U.S.C. § 1681n;



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      3. That the Court award costs and reasonable attorney’s fees pursuant to 15
         U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o; and

      4. That the Court grant such other and further relief as may be just and
         proper.

                            DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs demands

trial by jury in this action of all issues so triable.

                                         Respectfully Submitted,

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